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                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA


  SONY MUSIC ENTERTAINMENT, et al.,


              Plaintiffs,
                                              Case No. 1:18-cv-00950-LO-JFA
        v.

  COX COMMUNICATIONS, INC. and
  COXCOM, LLC,


              Defendants.



             COX’S MEMORANDUM OF LAW IN SUPPORT OF ITS
     MOTION IN LIMINE NO. 8 TO EXCLUDE CERTAIN EVIDENCE RELATING
             TO PEER-TO-PEER TRAFFIC ON COX’S NETWORK
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 Intelligent Verification Sys., LLC v. Microsoft Corp.,
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    No. 3:14-CV-276, 2015 WL 165315 (E.D. Va. Jan. 12, 2015) .................................................7




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 I.       INTRODUCTION

          Despite taking significant discovery on these issues, Plaintiffs were unable to develop any

 evidence to show that Cox had the ability to (1) determine the content of any files uploaded or

 downloaded on peer-to-peer traffic on its network, or (2) block, shape, or otherwise manipulate

 peer-to-peer traffic. The only fact that emerged was that Cox used a network management tool

 called Procera to determine the volume of different types of traffic on its network, including the

 category of peer-to-peer traffic. Most importantly, Plaintiffs’ expert

                                                                                                      ,

 leaving no doubt that these are no longer live issues in the case. Because none of these issues are

 relevant to Plaintiffs’ claims, and because excluding this evidence would significantly streamline

 the trial, Cox respectfully requests that the Court grant this motion in limine.

 II.      RELEVANT FACTUAL BACKGROUND

          In the discovery period, Plaintiffs attempted to develop evidence that Cox had the ability

 to identify infringing content and limit BitTorrent and other peer-to-peer traffic on its network, but

 failed to do so—presumably to buttress its vicarious infringement proof. In his opening report,

 Plaintiffs’ expert Dr. Terrence P. McGarty




                                                                  1



          But in his June 13, 2019 reply report, Dr. McGarty




 1
     Ex. 1 Expert Report of Terrence P. McGarty (Apr. 10, 2019), ¶ 46.
                                                   1
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 11
    Id., ¶ 100.
 12
    Id., ¶ 109.
 13
    Id., ¶ 101, 168.
                                       4
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          Dr. Almeroth concluded that




          Additional discovery taken by Plaintiffs affirms Dr. Almeroth’s conclusion that

                                                                                     . For example,

 Plaintiffs took the deposition of Clint Summers, Cox’s Director of Advanced Network Platforms

 who was designated as Cox’s 30(b)(6) witness on topics relating to network management and

 monitoring and Cox’s use of Procera specifically.15 Mr. Summers testified that



                                  However, Mr. Summers confirmed that Cox




          Plaintiffs also took the deposition of Procera (now Sandvine (USA), Inc.), whose corporate

 representative also



                                                 18



          Finally, Plaintiffs took the deposition of InCode, a firm that provides management

 consulting to companies in the telecommunications industry, including Cox. At Cox’s request,

 InCode



 14
    Id., ¶ 173.
 15
    Ex. 5, May 8, 2019 Clint Summers Dep. Tr. at 7:18-9:14.
 16
    Id. at 66:11-20.
 17
    Ex. 4 Almeroth Report, ¶¶ 34, 105-108; Summers Dep. Tr. at 126:19-127:17.
 18
    Ex. 6, Deposition of William Basquin at 67:10-68:2.
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                                                       Plaintiffs also questioned the InCode witness

 about Cox’s knowledge and awareness of its subscribers uploading or downloading through peer-

 to-peer networks such as BitTorrent during or before their claims period and Cox’s use of the

 Procera products. InCode testified that it




        As noted above, after Plaintiffs’ took this discovery, Dr. McGarty abandoned his initial

 opinions                                                                                 And in their

 summary judgment papers, Plaintiffs did not argue that Cox could have or should have used

 network management tools such as Procera. Indeed, their argument that Cox had the right and

 ability to supervise infringement occurring on its network was limited to claiming that “Cox

 expressly retained the right … to suspend or terminate its subscribers’ access to Internet service.”21

 Nor did Plaintiffs argue that Cox’s use of network management tools was relevant to its knowledge

 of alleged infringements or any other aspect of contributory liability.22

        However, Plaintiffs have indicated that they intend to call Dr. McGarty at trial, and that

 they may call the Procera and InCode witnesses, in addition to Mr. Summers.23 Plaintiffs have




 19
    Ex. 7, Deposition of Jorge Fuenzalida at 27:14-28:13.
 20
    Id.
 21
    See ECF No. 313, Plaintiffs’ Motion for Summary Judgment at 29-30; see also Plaintiffs’ Opp’n
 to Cox’s MSJ at 37.
 22
    See id. at 24-29.
 23
    See ECF No. 222 (Plaintiffs’ Witness List).
                                                   6
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  also designated a number of exhibits and deposition testimony relating to Procera and network

  management tools for trial.24

  III.     LEGAL STANDARD

           “The purpose of a motion in limine is to allow a court to rule on evidentiary issues in

  advance of trial in order to avoid delay, ensure an even-handed and expeditious trial, and focus the

  issues the jury will consider.” Intelligent Verification Sys., LLC v. Microsoft Corp., No. 2:12-CV-

  525, 2015 WL 1518099, at *9 (E.D. Va. Mar. 31, 2015), aff'd sub nom. Intelligent Verification

  Sys., LLC v. Majesco Entm’t Co., 628 F. App’x 767 (Fed. Cir. 2016) (citing United States v.

  Verges, No. 1:13cr222, 2014 WL 559573, at *2 (E.D. Va. Feb. 12, 2014)). The motion in limine

  is a party’s avenue to “exclude evidence prior to the commencement of trial.” Palmer v. Big Lots

  Stores, Inc., No. 3:14-CV-276, 2015 WL 165315, at *1 (E.D. Va. Jan. 12, 2015).

  IV.      ARGUMENT

           A.     Cox’s Use of Procera and Network Management Tools is No Longer a Live
                  Issue in this Case

           As demonstrated above in Section II, despite taking significant discovery on these issues,

  Plaintiffs were not able to gather any evidence to show that Cox had the ability to (1) determine

  the content of any files uploaded or downloaded on peer-to-peer traffic on its network, or (2) block,

  shape, or otherwise manipulate peer-to-peer traffic. This is further evidenced by the fact that Dr.

  McGarty admitted that

                                                           Plaintiffs should be limited to presenting

  testimony from Dr. McGarty on the opinions that he actually proffered in his report and at

  deposition, and it is clear from these materials that he is not offering any opinion on Cox’s ability




  24
       ECF No. 231.
                                                   7
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  to determine the content of files traded on peer-to-peer networks or on what Cox should have done

  with respect to network management.

          And to the extent that Plaintiffs intend to elicit testimony from any witness or present

  evidence with respect to Cox’s general ability to determine the volume of peer-to-peer traffic on

  its network, the Court should preclude this evidence as well because it is completely irrelevant to

  Plaintiffs’ claims and Cox’s defenses. Plaintiffs have not (and could not) argue that Cox’s

  generalized knowledge that a certain percentage of traffic on its network was peer-to-peer traffic

  could possibly give Cox actual knowledge of specific instances of infringement or the right and

  ability to supervise infringement occurring on its network—particularly given that BitTorrent and

  other peer-to-peer protocols can and are used to legally share content. And the fact that Plaintiffs’

  expert has explicitly backed away from his initial opinions on these issues alone demonstrates that

  this is no longer a live issue in this case.

          B.      Excluding this Evidence Will Significantly Streamline the Trial

          Precluding Plaintiffs from introducing this evidence will obviate the need to call Mr.

  Summers, InCode, or Sandvine (Procera) as trial witnesses because their deposition testimony was

  entirely limited to the topics described above. It will also significantly narrow the testimony both

  of Dr. Almeroth and Dr. McGarty. In light of the significant number of witnesses and the volume

  of evidence that will be necessary for Plaintiffs and Cox to present at trial, it is appropriate to

  eliminate this issue.

  V.      CONCLUSION

          For all of the foregoing reasons, Cox respectfully requests that the Court grant this motion

  in limine and preclude Plaintiffs from presenting evidence at trial that Cox has the ability to (1)

  determine the content of any files uploaded or downloaded on peer-to-peer traffic on its network,



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  or (2) block, shape, or otherwise manipulate peer-to-peer traffic, or evidence of Cox’s general

  knowledge of the volume of peer-to-peer traffic on its network.



  Dated: October 19, 2019                             Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on October 19, 2019, a copy of the foregoing was served by email to
  Jeffrey Gould at jeff@oandzlaw.com, by party agreement, due to technical issues with the ECF
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